
WHATLEY, Judge.
In this appeal of his convictions of escape and resisting an officer without violence, Carl D. Wagner raises numerous issues. We find merit only in his contention that this case must be remanded for entry of formal, written orders of revocation of probation in case nos. 95-4015, 96-3021, and 96-3022 because the memo of sentence is insufficient to serve as those orders. See Grantham v. State, 735 So.2d 525 (Fla. 2d DCA 1999).
Accordingly, we affirm Wagner’s convictions but remand for entry of formal, written orders of revocation of probation in the aforementioned cases.
Affirmed but remanded.
GREEN and STRINGER, JJ., Concur.
